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                                                                        Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS

STEVEN D. LISLE, Jr.                     )
  Plaintiff,                             )
                                         )
  vs.                                    )        No. 18-1253
SUSAN PRENTICE, et al.,                  )
  Defendants                             )

                           SUMMARY JUDGMENT ORDER

JAMES E. SHADID, U.S. District Judge:

      This cause is before the Court for consideration of Defendants’ motion for

summary judgment on the issue of exhaustion of administrative remedies. [26]. For the

following reasons, Defendants’ motion is granted. [26].

                                   I. BACKGROUND

      Plaintiff, a pro se prisoner, alleges his Eighth Amendment rights were violated

at Pontiac Correctional Center Court when: a) Defendant Warden Teri Kennedy failed

to protect Plaintiff from an inmate assault; b) Defendants Susan Prentice and Lance

Evans violated his Eighth Amendment rights when they repeatedly encouraged

inmates to assault Plaintiff; and 3) Defendant Darryl Lewis and Dylan Painter refused to

allow Plaintiff to wash off or change clothes after he was assaulted with human waste.

The claims are stated against the Defendants in their individual capacities. See January

24, 2019 Case Management Order.

      The Court stated in its review of Plaintiff’s allegations that it was doubtful

Plaintiff could have fully exhausted his administrative remedies since Plaintiff alleged



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he was assaulted on May 9, 2018, but he filed his initial complaint two months later on

July 11, 2018. See January 24, 2019 Case Management Order, p. 5. Nonetheless, the

Court also noted the issue was better addressed in a dispositive motion.

       Defendants filed a Motion for Summary Judgment alleging Plaintiff had not

exhausted his administrative remedies before filing his lawsuit. [26]. After Plaintiff filed

his response, Defendants filed a reply specifically noting Plaintiff’s response referred to

an outdated version of the Illinois Administrative Code. (Def. Reply, p. 7). The relevant

code pertaining to emergency grievances was amended in April of 2017, one year before

Plaintiff filed his relevant emergency grievances.

       Plaintiff ignored this argument until more than eight months later when he filed

a motion for leave to file an amended response. [39]. The Court denied Plaintiff’s

motion noting Plaintiff had failed to explain the delay in addressing the issue. See

January 29, 2020 Text Order.

                                         II. FACTS

       Plaintiff attached copies of relevant grievances to his initial complaint dated May

6, 2018; May 9, 2018; and May 19, 2018. (Comp., [1], p. 14-23)

       Plaintiff marked his May 6, 2018 grievance as an emergency. Two days later, the

Warden found the issue was not an emergency and Plaintiff appealed his grievance to

the Administrative Review Board (ARB). (Comp., [1], p. 14). On May 21, 2018, the ARB

responded noting “Additional Information required.” (Def. Mot., p. 10). Plaintiff was

asked to provide a copy of his original grievance and the counselor’s response if



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applicable. In addition, Plaintiff was directed to provide a copy of responses from the

grievance officer and administrative officer. (Def. Mot., p. 10).

       Plaintiff also marked his May 9, 2018 grievance as an emergency, and the CAO

found it did not qualify as an emergency on May 11, 2018. Plaintiff again appealed to

the ARB. (Comp., [1], p. 16). The ARB responded on June 11, 2018, and again asked

Plaintiff to provide additional information. The ARB asked for a copy of the original

grievance, the counselor’s response if available, as well as the grievance officer and

CAO responses. (Def. Mot., p. 9).

       Plaintiff did not provide any additional information and instead filed his

complaint on the same day he received the ARB response. (Comp., [1]).

       Plaintiff’s May 19, 2018 grievance is also marked as an emergency grievance, but

the Warden found it did not qualify as an emergency on May 23, 2018. (Comp., [1], p.

18). Plaintiff ‘s Inmate Grievance History indicates the grievance was not appealed to

the ARB. (Def. Mot., p. 11).

                         II. APPLICABLE LEGAL STANDARD

A. SUMMARY JUDGMENT

       The Court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law. Fed. R. Civ. P. 56(a). A movant may demonstrate the absence of a

material dispute through specific cites to admissible evidence or by showing that the

nonmovant “cannot produce admissible evidence to support the [material] fact.” Fed.

R. Civ. P. 56(c)(B). If the movant clears this hurdle, the nonmovant may not simply rest

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on his or her allegations in the complaint, but instead must point to admissible evidence

in the record to show that a genuine dispute exists. Id.; Harvey v. Town of Merrillville, 649

F.3d 526, 529 (7th Cir. 2011). “In a §1983 case, the plaintiff bears the burden of proof on

the constitutional deprivation that underlies the claim, and thus must come forward

with sufficient evidence to create genuine issues of material fact to avoid summary

judgment.” McAllister v. Price, 615 F.3d 877, 881 (7th Cir. 2010).

       At the summary judgment stage, evidence is viewed in the light most favorable

to the nonmovant, with material factual disputes resolved in the nonmovant's favor.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine dispute of material

fact exists when a reasonable juror could find for the nonmovant. Id.

B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

       The Prison Litigation Reform Act (PLRA) provides:

       No action shall be brought with respect to prison conditions under section 1983
       of this title, or any other Federal law, by a prisoner confined in any jail, prison, or
       other correctional facility until such administrative remedies as are available are
       exhausted. 42 U.S.C. §1997e(a).

       The Seventh Circuit “has taken a strict compliance approach to exhaustion.” Dole

v. Chandler, 438 F.3d 804, 809 (7th Cir. 2006). “Proper exhaustion demands compliance

with an agency’s deadlines and other critical procedural rules because no adjudicative

system can function effectively without imposing some orderly structure on the course

of its proceedings.” Woodford v. Ngo, 548 U.S. 81, 90-91 (2006); Pozo, v. McCaughtry, 286

F.3d 1022, 1025 (7th Cir.2002)(prisoner must file complaints an] appeals “in the place,

and at the time, the prison's administrative rules require”). “[E]xhaustion is a


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precondition to the filing of a complaint in federal court.” Dixon v. Page, 291 F.3d 485,

489 (7th Cir. 2002).

       The Illinois Department of Corrections (IDOC) has an established grievance

procedure for inmates. See 20 Ill. Admin. Code § 504.800 et seq. IDOC is required to

inform inmates of these procedures at the initial admitting facility. 20 Ill. Admin. Code

§ 504.800 (e). In addition, inmates may request further information from their

counselors and copies of the written procedures must also be available for inmates. 20

Ill. Admin. Code § 504.800 (e)(1).

       For most complaints, an inmate must file a grievance with the Grievance Officer

within 60 days of the alleged incident. 20 Ill. Admin. Code. §504.810(a). “The

Grievance Officer shall consider the grievance and report his or her findings and

recommendations in writing to the Chief Administrative Officer (CAO) within two

months after receipt of the written grievance, when reasonably feasible under the

circumstances.” 20 Ill. Admin. Code. §504.830 (e). The Warden or CAO will then

review the findings “and advise the offender of his or her decision in writing.” Id.

       If the inmate is still not satisfied with the response, the inmate can appeal to the

ARB within 30 days of receiving the CAO’s response. 20 Ill. Admin. Code. §504.850 (a).

The ARB will submit a report to the Director who will “make a final determination of

the grievance within six months after receipt of the appealed grievance, when

reasonably feasible under the circumstances.” 20 Ill. Admin. Code. §504.850 (e).

       In the alternative, an inmate “may request a grievance be handled on an

emergency basis by forwarding the grievance directly” to the CAO.” 20 Ill. Admin.

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Code §504.840. If the CAO determines the grievance is an emergency, the CAO must

expedite processing of the grievance and if appealed, the ARB must also provide an

expedited response. 20 Ill. Admin. Code §504.840(b); §504.850(f).

       However, if the CAO determine the grievance is not an emergency, “the

offender shall be notified in writing that he or she may resubmit the grievance as non-

emergent, in accordance with the standard grievance process.” 20 Ill. Admin. Code

§504.840(c).

       Whether filed as an emergency or non-emergency grievance, once an inmate has

received a response from the ARB, the grievance process is complete.

                                III. ANALYSIS

       The Defendants argue Plaintiff cannot demonstrate he fully exhausted his

administrative remedies for his claims before he filed his lawsuit. Defendants maintain

Plaintiff failed to appeal one grievance to the ARB and failed to provide the additional

information requested by the ARB for his other grievances. Therefore, Plaintiff failed to

complete the grievance process and he did not receive a final determination from the

ARB for any relevant grievances before filing his lawsuit. See Jones v. Bayler, 2019 WL

7938530, at *4 (C.D.Ill May 28, 2019)(“By ignoring the ARB's request for additional

documentation, (plaintiff) thwarted the purpose of the administrative process and,

thereby, failed to exhaust his administrative remedies.”); Edens v. O'Brien, 2016 WL

4191756, at *2 (N.D.Ill. Aug 9, 2016)(plaintiff did not complete grievance process when

he appealed denied emergency grievance to ARB, then did not provide additional

information requested by the board); Lisle v Smith, Case No. 17-1577, April 22, 2019

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Order, p. 10 (“Lisle ignored the ARB’s instructions and, instead, filed this lawsuit. In so

doing, Lisle failed to exhaust properly his administrative remedies…”).

       Plaintiff argues the Defendants are asking the Court to ignore “controlling case

law established by the Seventh Circuit Court of Appeals.” (Plain. Resp., p. 2). For

instance, Plaintiff notes in Thornton v. Snyder, 428 F.3d 690 (7th Cir. 2005), the Seventh

Circuit held there was nothing in the current regulatory text requiring an inmate to

refile his grievance through the normal procedures once he was informed a warden had

denied his emergency grievance. Plaintiff also argues the Appellate Court confirmed

the opinion in Muhammad v. McAdory, 214 Fed.Appx. 610 (7th Cir. 2007).

       Plaintiff’s argument fails. First, the Administrative Grievance procedure was

amended after these cases were decided. As noted, the text was amended in April of

2017, nearly a year before Plaintiff filed his grievances. Inmates are now directed to

refile a denied emergency grievance through the normal grievance procedures. 20 Ill.

Admin. Code §504.840(c).

       Although the Court denied Plaintiff’s untimely motion to file an amended reply,

Plaintiff argued he had exhausted all available administrative remedies because no one

personally informed him of the changes in the grievance procedure. The PLRA, does

not define “availability” for purposes of the exhaustion requirement. However, the

Seventh Circuit has held that the “availability of a remedy is not a matter or what

appears on paper, but, rather, whether the paper process was in reality open for the

prisoner to pursue.” Wilder v Sutton, 2009 WL 330531 at *3 (7th Cir. Feb. 11, 2009) citing

Kaba v Stepp, 458 F.3d 678, 684 (7th Cir. 2006). For instance, the grievance procedure is

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unavailable “if prison employees … use affirmative misconduct to prevent a prisoner

from exhausting.” Dole v. Chandler, 438 F.3d 804, 809 (7th Cir. 2006).

       The grievance procedures require prison officials to provide an inmate with a

copy of the current handbook outlining grievance procedures when the inmate first

enters IDOC. In addition, a counselor must provide additional information when

requested or provide a written copy of grievance procedures if requested. 20 Ill. Admin.

Code § 504.800 (e). Plaintiff does not claim he requested additional information or any

IDOC official prevented him from obtaining a copy of the updated procedures.

       More important, Plaintiff was not directed to start the grievance process over in

the case before the Court. Instead, Plaintiff was asked to provide more information to

resolve his claim on the merits. See Jones, 2019 WL 7938530, at *4; Edens, 2016 WL

4191756, at *2;

       The ARB’s request comports with the purpose the Supreme Court has identified

for exhaustion of administrative remedies

       First, exhaustion protects administrative agency authority. Exhaustion
       gives an agency an opportunity to correct its own mistakes with respect to the
       programs it administers before it is haled into federal court, and it discourages
       disregard of the agency's procedures. Second, exhaustion promotes efficiency.
       Claims generally can be resolved much more quickly and economically in
       proceedings before an agency than in litigation in federal court. In some cases,
       claims are settled at the administrative level, and in others, the proceedings
       before the agency convince the losing party not to pursue the matter in federal
       court. And even where a controversy survives administrative review, exhaustion
       of the administrative procedure may produce a useful record for subsequent
       judicial consideration. Woodford v. Ngo, 548 U.S. 81, 89 (2006)(internal citation
       and quotations omitted).




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       The Seventh Circuit has also noted “it is the substance of the grievance, not the

question whether it should be expedited as an emergency, that was required to be

decided by prison administrators” before a plaintiff can file a complaint in federal court.

Bulmer v. Young, 160 Fed. Appx. 524, 527–28 (7th Cir. 2005).

       It is worth noting Plaintiff has filed at least 29 lawsuits, 18 in the Central District

alone, and frequently uses the emergency grievance process. See Lisle v. Baldwin, Case

No. 17-1158; Lisle v Prentice, Case No. 17-1327; Lisle v. Fike, Case No. 17-1335; Lisle v.

Melvin, Case No. 17-1336; Lisle v. Hadsall, Case No. 17-1354; Lisle v. Baldwin, Case No. 17-

1488; Lisle v Prentice, Case No. 17-1507; Lisle v Foster, Case No. 17-1508; Lisle v Ruskin,

Case No. 17-1530; Lisle v Smith, Case No. 17-1577; Lisle v Dillion, Case No. 18-1103; Lisle v

Fox, Case No. 18-1176; Lisle v Davis, Case No. 18-1177; Lisle v Renzi, Case No. 18-1187;

Lisle v Prentice, Case No. 18-1210; Lisle v Prentice, Case No. 18-1253; Lisle v Prentice, Case

No. 18-1395; and Lisle v Prentice, Case No. 18-1396 in the Central District; Lisle v. Mirsky,

Case No. 76-7214 and Lisle v. Hinton, Case No. 19-5851 in the Northern District; and Lisle

v. Lawrence, Case No. 19-427; Lisle v. Lawrence, Case No. 19-435; Lisle v. Siddiqui, Case

No. 19-1251; Lisle v. Senior-Moore, Case No. 19-163; Lisle v. Butler, Case No. 16-421; Lisle

v. Butler, Case No.16-422; Lisle v. Butler, Case No.15-965; Lisle v. Goldman, Case No. 18-

1736 and Lisle v. Goldman, Case No. 18-2052 in the Southern District.

       “The benefits of exhaustion can be realized only if the prison grievance system is

given a fair opportunity to consider the grievance. The prison grievance system will not

have such an opportunity unless the grievant complies with the system's critical

procedural rules.” Woodford, 548 U.S. at 95; see also Pozo, 286 F.3d at 1025.

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      Plaintiff refused to complete the grievance process when he ignored the ARB’s

request for additional information and instead, Plaintiff immediately filed his complaint

in Federal Court. Plaintiff has not exhausted his administrative remedies and the

motion for summary judgment is therefore granted. [26].

      IT IS THEREFORE ORDERED:

      1) Defendants’ motion for summary judgment is granted pursuant to Federal Rule

      of Civil Procedure 56. [26]. The Clerk of the Court is directed to enter judgment in

      favor of Defendants and against Plaintiff. This case is terminated, with the parties

      to bear their own costs.

      2) If Plaintiff wishes to appeal this judgment, he must file a notice of appeal with

      this Court within 30 days of the entry of judgment. Fed. R. App. P. 4(a)(4). A

      motion for leave to appeal in forma pauperis MUST identify the issues the

      Plaintiff will present on appeal to assist the court in determining whether the

      appeal is taken in good faith. See Fed. R. App. P. 24(a)(1)(c); See also Celske v

      Edwards, 164 F.3d 396, 398 (7th Cir. 1999)(an appellant should be given an

      opportunity to submit a statement of his grounds for appealing so that the district

      judge “can make a reasonable assessment of the issue of good faith.”); Walker v

      O’Brien, 216 F.3d 626, 632 (7th Cir. 2000)(providing that a good faith appeal is an

      appeal that “a reasonable person could suppose…has some merit” from a legal

      perspective). If Plaintiff does choose to appeal, he will be liable for the $505.00

      appellate filing fee regardless of the outcome of the appeal.

Entered this 27th day of February, 2020.

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            s/ James E. Shadid
_________________________________________
            JAMES E. SHADID
     UNITED STATES DISTRICT JUDGE




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